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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                     CASE NO: 8:01-cr-56-T-30TBM

 JOSHUA BOYER


                                          ORDER

        THIS CAUSE comes before the Court upon the Defendant's Motion for New Trial

 Pursuant to Federal Rule of Criminal Procedure 33(b)(1) (Dkt. #356) and the Government’s

 Response (Dkt. #361). Upon review and consideration, the Court determines Defendant’s

 motion should be denied.

        Defendant Boyer files the motion pursuant to Rule 33(b)(1), which provides:

        Any motion for a new trial grounded on newly discovered evidence must be
        filed within 3 years after the verdict or finding of guilty. If an appeal is
        pending, the court may not grant a motion for a new trial until the appellate
        court remands the case.

 Boyer’s motion will be denied because more than three (3) years have passed since the

 jury’s guilty verdicts in this case. The jury rendered its verdicts against Boyer and his co-

 defendants on July 30, 2001.

        And, absent some provision creating or continuing its jurisdiction, the Court lacks

 authority to entertain Boyer’s request for relief. See United States v. Diaz-Clark, 292 F.

 3d 1310, 1316-18 (11th Cir. 2002); United States v. Williams, 158 F. 3d 736, 740 (3d Cir.
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 1998) (“courts do not have freewheeling powers to amend six-year old judgments in

 criminal cases”).

          Accordingly, it is ORDERED AND ADJUDGED that:

          1.       Defendant's Motion for New Trial Pursuant to Federal Rule of Criminal

 Procedure 33(b)(1) (Dkt. #356) is DENIED.

          DONE and ORDERED in Tampa, Florida, this 30th day of April, 2015.




 Copies furnished to:
 Counsel/Parties of Record

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